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    Ex. #    Exhibit Name                              Designation
    1        Settlement Agreement and Mutual           None
             Releases between Teva Pharmaceutical
             Industries Ltd. and Allergan plc, dated
             January 31, 2018, bearing the bates
             number ALLERGAN_MDL_01396687

    2        Exhibit 2 is a true and correct copy of   None
             Exhibit 3 from the October 26, 2018
             deposition of Stephan Kaufhold

    3        Allergan’s Fourth Amended Objections      None
             and Responses to Plaintiffs’ Corrected
             Second Set of Interrogatories, dated
             March 4, 2019.

    4        May 10, 2019 Expert Report of             None
             Margaret K. Kyle

    5        May 10, 2019 Expert Report of Carl C.     None
             Peck

    6        August 2, 2018 deposition transcript of   None
             Jennifer Altier

    7        April 24, 2019 deposition transcript of   None
             Matthew Perri

    8        ALLERGAN_MDL_02147111                     None

    9        ALLERGAN_MDL_00400518                     None

    10       January 17, 2019 deposition transcript    None
             of Douglas Boothe

    11       TEVA_MDL_JD000066                         None

    12       Master Purchase Agreement between         None
             Allergan plc and Teva Pharmaceutical
             Industries Ltd., dated July 26, 2015,
             bearing the bates number
             ALLERGAN_MDL_01470362
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    Ex. #    Exhibit Name                             Designation
    13       Kadian Asset Purchase Agreement,         None
             dated December 17, 2008, bearing the
             bates number
             ALLERGAN_MDL_00378157

    14       May 10, 2019 Expert Report of Jonathan None
             R. Macey

    15       May 29, 2019 deposition transcript of    None
             Jonathan R. Macey

    16       ALLERGAN_MDL_01373716                    None

    17       May 4-5, 2019 deposition transcript of   Motion to Seal Pending re
             Meredith B. Rosenthal                    Redactions

    18       May 9, 2019 deposition transcript of     None
             Craig J. McCann

    19       June 13, 2019 deposition transcript of   None
             Lacey R. Keller

    20       June 27, 2019 Supplemental Expert        Motion to Seal Pending re
             Report of Margaret K. Kyle               Redactions

    21       ALLERGAN_MDL_01104711                    None




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